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AO 442 (REV. 12/85)




                              UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                   §
                                                           § CRIMINAL COMPLAINT
vs.                                                        § CASE NUMBER: DR:13-M -01267(1)
                                                           §
(1) Jose Fredy Castillo-Rivas                              §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about January 30, 2013 in Maverick county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, (track statutory language of offense) knowingly and willfully enter the United

States at a time and place other than as designated by Immigration Officers, he/she being an alien in the

United States in violation of Title 8 United States Code, Section(s) 1325(a)(1).



                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On February 1, 2013, the defendant, Jose Fredy CASTILLO-Rivas, a native and citizen of El

Salvador, was arrested near Eagle Pass, Texas. Subsequent investigation revealed that the defendant is an

alien illegally present in the United States. The Defendant last entered the United States illegally from the

Republic of Mexico by crossing the Rio Grande River at a time and place other than as designated by

Immigration Officers, near Eagle Pass, Texas."


Continued on the attached sheet and made a part of hereof:                                       Yes    X No




Sworn to before me and subscribed in my presence,
                                                                          Signature of Complainant

02/04/2013                                                           at   DEL RIO, Texas
File Date                                                                 City and State




COLLIS WHITE                                                              ______________________________
U.S. MAGISTRATE JUDGE                                                     Signature of Judicial Officer
                             Case 2:13-mj-01267-CW Document 1 Filed 02/06/13 Page 2 of 3
AO 245H (Rev. 07/04)(W.D.TX) - Judgement in a Criminal Case for a Petty Offense (Short Form)




                                        UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                                              §
                                                                                      § CRIMINAL COMPLAINT
vs.                                                                                   § CASE NUMBER: DR:13-M -01267(1)
                                                                                      §
(1) Jose Fredy Castillo-Rivas                                                         §

                                                         JUDGEMENT IN A CRIMINAL CASE
                                                         (For A Petty Offense) - Short Form

                 The defendant, Jose Fredy Castillo-Rivas, was presented by counsel, Dalila Padilla Paxton.

          The defendant pled guilty to the complaint on February 05, 2013. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                            Nature of Offense                                                Date of Offense

8 USC 1325                                 ILLEGAL ENTRY                                                    January 30, 2013


           As pronounced on February 05, 2013, the defendant is hereby commited to the custody of the
United States Bureau of Prisons for a term of 10 days with credit for time already served. The sentence is
imposed to the Sentencing Reform Act of 1984.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remited pursuant to
18 U.S.C. § 3573 because of reasonable efforts to collect this assessment are not likely to be effective.

                 The fine is waived because of the defendant's inability to pay.

           It is further ordered that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this Judgement are fully paid.

                 Filed and Signed on this the 6th day of February, 2013.




                                                                                                 ______________________________
                                                                                                 COLLIS WHITE
                                                                                                 U.S. MAGISTRATE JUDGE




Arresting Agency: DRBP - Del Rio Border Patrol
USM #: 11018380
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                                   UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF TEXAS
                                               DEL RIO DIVISION

United States of America                           §
                                                   §
vs.                                                §     Case Number: DR:13-M -01267(1)
                                                   §
(1) Jose Fredy Castillo-Rivas                      §
  Defendant


                                     ORDER APPOINTING COUNSEL
           The above-named defendant having satisfied this court after appropriate inquiry that he/she (1) does not
wish to waive representation by counsel, and (2) is financially unable to obtain counsel, the Federal Public Defender
is hereby APPOINTED to represent the above named defendant.

              This appointment shall remain in effect until the case is terminated or a attorney is appointed.

ORDERED on 4th day of February, 2013.



                                                   ______________________________
                                                   COLLIS WHITE
                                                   U.S. MAGISTRATE JUDGE
